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             EXHIBIT A
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                                                                                                      WI REPORTS
                                                                                              WST IH              . 12/22/2003
                                                                                           . 31547 Vol: 003 Date.

                                                                                  BB~:1~~156855
                                                                                   IBe: 322517
                                                                                                         \I'~I\\\~\\\\\\\~~




                                            Part B Application
                                            Renewal and Amendments
                                            Union Pacific Railroad Houston Tie Plant
                                            SWR: 31547
                                            4910 Liberty Road
                                            Houston, Texas

                                            December 22, 2003

                                            www.erm.com




Delivering sustainable solutions in a more competitive world
                                                                                   TNRCC CENTRAL   RECORDS

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                 Part B Renewal Application and Amendments
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"      i         Union Pacific Railroad Houston Tie Plant                                                           ,
                                                                                                                        .rY'
                 Houston, Texas
                 WO.# 422-102                                                                           1
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                                                                                                        (])
                                                                                                                        'LL.
                                                                                                                        :UJ
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                                                                                                            Environmental
                                                                                                            Resources
                                                                                                            Management

                                                                                                            1110 Montlimar Drive
        December 22, 2003                                                                                   Suite 150
                                                                                             I..            Mob;j}e~36609
                                                                                                            (251) 38U-tfl46
        Texas Commission on Environmental Quality
                                                                                       l.J         .        (251) 38,{1-0552(fax)
        Attention: Permits Administrative Review Section, MC-161                             C.V       '-    :J   c.Uu3
        Registration, Review & Reporting (RR&R) Division
        12100 Park 35 Circle, Building F                                         Air & Waste A;;~;;cations Team
        Austin, Tex~s 78753                       W.O. #422-102

        Subject          Submittal of RCRA Permit and Compliance Plan Renewal
                         Application with Major Amendment for Union Pacific
                         Railroad Houston Tie Plant, SWR: 31547

     Dear Sir or Madam:

   Union Pacific Railroad is submitting a: renewal application for the RCRA
   Permit and Compliance Plan with Major Amendments for the above-
 . mentioned facility. Pursuant to the TCEQ's instructions, please find
   enclosed the following documents:

    •          The original RCRA Part B Application plus three (3) full copies;
                                                                                                                  ~ IEC t= (VE:lJ
    •          Six (6) additional copes of Section I: General Information;
                                                                                                                  DEe t:: 9 2003
    •          Four (4) copies of the Preliminary Review Checklists provided
              under separate cover;                                                                    Air & Waste Applications    Team
    •         A photostatic copy of the check for payment of permit renewal
              application fees transmitted directly to the TCEQ Financial
              Administration Division;
    •         A photostatic copy of the check for payment of permit application
              fee for a major amendment transmitted directly to the TCEQ
              Financial Administration Division;
 •            The original Compliance Plan Application plus three (3) full copies;
              and                                   .
 •           A photostatic copy of the check for payment of Compliance Plan
             renewal application fees transmitted directly to the TCEQ Financial
             Administration Division.

 A major amendment is sought during the renewal period to update the
 permit and compliance plan with conditions at the facility and changes
 requested by the TCEQ since 1994.

The following has been sent to the Financial Administration        Division: .                         REC~"JEO
•            The check for payment of RCRA Permit renewal application fees;                                 UtJ':         9 2003
•            The check ror payment of RCRA Permit application fee for a major
             amendment; and                                                                   Air L ••;:;,LU MPPlieations Team
•            The check for payment of Compliance Plan renewal application fees.



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     December 22, 2003
     Texas Commission on Environmental Quality
     Page 2

o    Please contact me at (251) 380-0046 if you have any questions or require anything further.

     Sincerely,

     Environm~ntal Resources Management

     QQ.llHt~
     Paul Stef'lfJG.
     DD/std                    .

     cc:        TCEQ Financial Administration Division (payments only)
                Geoffrey B. Reeder, Union Pacific Railroad Company




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                                                           Figures

                                                   December 22, 2003 °




                                                   WOo #422-102/60
                                                 Union Pacific Railroad
                                            Houston Wood Preserving Works·
                                                    Houston, Texas




                                           Environmental Resources Management
                                               1110 Montlimar Drive, Suite 150
                                                   Mobile, Alabama 36609
                                                        (251) 380-0046




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      OVERSIZE DOCUMENTS,
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The below listed documents, from the above referenced file, that belong in this location in the file
were not microfilmed because of their size and/or media format. See the Central File Room staff
for the location of the following oversize documents and/or photograp~s:

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                                                        Case 4:20-cv-01107 Document 23-1 Filed on 07/27/20 in TXSD Page 8 of 36

                                                SWM\]AREAS
             NOl              DESCRIPTION:
       SWMtJJ 1;              INACIT1\lEStlRFACE IMPOUNDMEN:T:




                                     LEGEND


                      .MW-5            MONITOR WELL

                                       HISTORIC STRUCTURES
                 I              I      AND FEATURES

                                       ROADS, PARKING LOTS,
                                       SIDEWALKS

                                       FENCES

                                       RAIL LINES
                     t----I
             ----                      RIGHTS-OF-WAY

                                       STORM SEWER

                                       SANITARY SEWER

                                       WATERLINES


                     0                 UPRR PROPERTY

                                       POINT OF COMPLIANCE
                                       LINE



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                                                                                    I.
                                                                                    ~\
                                                                                         ).
                     NOTE:

                     1. NOR #001 IS SAME AS SWMU 1




             o                            200                    400                                    '       ~~~:T1                   MAPPINGPROGRAM,CITYOFHOUSTON,TEXAS
                                                                                                            .       R    I   ST       UNITS RFII EOC FIGURE 1-2
                                                                                                       ~    .   RV                2003
       SCALE                                                  FEET



 E"'RJM' Y I-', 51,Oi1!llUILWeSt"
                              .a:. I' nc.,


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   I   "',
                      Ji,l!.,
                      I
  HOUSTON· NEW ORLEANS· AUS11N· MOBILE' BEAUMONT· BATON ROUGE· roRPUS CIWSTI                              FIGURE 2
                                                                                                PERMITTED UNIT LOCATION MAP
                                                                                              HOUSTON WOOD PRESERVING WORKS
DESIGN: TMO                         I DRAWN: RLMlMMH   I CHKD.: DOlTS                                  HOUSTON, TEXAS                                                                ""
DATE: 12/04103                      I SCALE:ASSHOWN    I REV.:                                                                                                     ERM
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                                                Adjacent Land Owners List
                                                       Attachment A

                                                    December 22,2003
                                                    WOo #422-102/60
                                                  Union Pacific Railroad
                                             Houston Wood Preserving Works
                                                     Houston, Texas

o




                                             Environmental Resources Management.·.
                                                 1110 Montlimar Drive, Suite 150
                                                     Mobile, Alabama 36609
                                                          (251) 380-0046

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0   49.     LUTCHEY MCCALL
            2702 CHEW
            HOUSTON TX 77020
                                                62.   F B KING MOORE
                                                      8225 TREMONT
                                                      HOUSTON TX 77028

    50.     WOODROW JOHNSON                     63.   EMMA MCGOWAN
            5602 BRUMBACH                             8117 PARKER ROAD
            HOUSTON TX 77020                          HOUSTON TX 77078

    51.     WOODROW JOHNSON                     64.   JAMES C MCCANN JR
            2512 SAM WILSON                           3314 WAYNE STREET
            HOUSTON TX 77020                          HOUSTON TX 77026

    52.     MOLZANINC.                          65.   TESTEPTOE
            817 WESTHEIMER                            7319 GORE
            HOUSTON TX 77006                          HOUSTON TX 77016

    53.     LINDA J WILLIAMS                    66.   PATRICIA D RUSHER
            2610 CHEW                                 15223 MESA BLVD
            HOUSTON TX 77020                          HUMBLE TX 77396

    54.,    ELLEN PIERCE                        67.   G R WASHINGTON
            2602 CHEW                                 3715 RIO VISTA
            HOUSTON TX 77020                          HOUSTON TX 77021

    55.     JENNIFER CURTIS                     68.   ROY & GERTRUDE ADAMS
            2602 CHEW                                 2214 ERASTUS

0           HOUSTON TX 77020                          HOUSTON TX 77020

    56.     UNION BAPTIST BIBLE                 69.   LUCILE WILLIAMS
            COLLEGE                                   2308 ERASTUS
            2600 CHEW STREET                          HOUSTON TX 77020
            HOUSTON TX 77020
                                                70.   GLORIA EATMON
    57.     SECOND MT OLIVE                           5301 LEE
            2523 CHEW STREET                          HOUSTON TX 77020
            HOUSTON TX 77020
                                                71.   ALEE MACKEY
    58.     HAROLDJHENRY                              7932 CORINTH
            9215 LOCKWOOD                             HOUSTON TX 77051
            HOUSTON TX 77016
                                                72.   ROBBIE M JOHNSON
    59.     MORGAN MALONE                             2416 ERASTUS
            5839 WILLOW GLEN                          HOUSTON TX 77020
            HOUSTON TX 77033
                                                73.   WILSON ALLEN
    60.     BESSIE B SAMUEL                           5301 SUEZ STREET
            4614 WIPPRECHT                            HOUSTON TX 77020
            HOUSTON TX 77026
                                               74.    ALBERT J ZARZANA
    61.     TRUDIE THOMAS                             12322 KIMBERLY
            POBOX 1473                                HOUSTON TX 77024
            LAPORTE TX 77571

0                                              75.    ROY & GERTRUDE S ADAMS
                                                      2214 ERASTUS
                                                      HOUSTON TX 77020
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0    103.     ARTHUR & MARY SMITH
              4520 LEE
                                                 116.   JOHN W RANDLE
                                                        2310 WACO
              HOUSTON TX 77020                          HOUSTON TX 77020

     104.     OLETHA WESLEY
              4512 LEE
              HOUSTON TX 77020

     105.    CORINE A & TOMMIE HEADS JR
             4506 LEE
             HOUSTON TX 77020

    106.     ARTHUR LEE & MARY SMITH
             4502 LEE
             HOUSTON TX 77020

    107.     GENTRY THOMAS
             5826 THRUSH
             HOUSTON TX 77033

    108.     MRS BEWLAH H MCGOWEN
             5214 LYONS AVENUE
             HOUSTON TX 77020

    109.     ETHALELLIS
             5033 PAULA

0            HOUSTON TX 77033

    110.     JAMES SR & DORIS A MURPHY
             8747 COWART STREET
             HOUSTON TX 77029

    111.     JEWEL MCALPIN
             4422 LEE
             HOUSTON TX 77020

    112.     LUVILLIE C DILLARD
             3817 WAYNE STREET
             HOUSTON TX 77026

    113.     GRACE BLAIR
             4304 NEW ORLEANS
             HOUSTON TX 77020

    114.     NELSON L NEELY & HECTOR M
             PAREOES
             1426 DEMAREE LN
             HOUSTON TX 77029

    115.     JAMES C JR & ETAL WILLIAMS
             1314BLAND   .
             HOUSTON TX 77091

0
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                                                           Geology Report
                                                            Attachment B

                                                  December 22, 2003
                                                  WOo #422-102/60
                                                Union Pacific Railroad
                                           Houston Wood Preserving Works
                                                   Houston, Texas

o




                                           Environmental Resources Management
                                              1110 Montlimar Drive, Suite 150
                                                  Mobile,AJabar.na 36609
                                                       (251) 380-0046

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                                                          Section IV

                                                December 22, 2003
                                                WOo #422-102/60
                                              Union Pacific Railroad
                                         Houston Wood Preserving Works
                                                 Houston, Texas


o




                                         Environmental Resources Management
                                            1110 MontIimar Drive, Suite 150

o                                               Mobile, Alabama 36609
                                                     (251) 380-0046



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          IV.       GEOLOGY     REPORT    SUMMARY

o                  Appendix

                   A.     Regional
                                  number(s)    of the Geology

                                         Physiography
                                                                   Report(s):

                                                         and Topography
                                                                                          IV                    ~ ___



                          Distance       and direction    to nearest     surface       water   body:                    _

                                one mile north to Hunting Bayou

                          Slope     of land surface:                           ---::
                                                                                 ,4%                                _

                          Direction       of slope:                 north-northwest                                     _

                                                                          47

                          Minimum      elevation    of facility:           46.2                                     _

                   B.     Regional       Geology

                          Stratigraphy:        The surficial soils of this region are deposits of the Pleistocene
                        fluvialoodeltaicsystem. The generalized stratigraphic column of the upper 1000 feet of
                        the site consists primarily of sand, silt, clay and shell which have been deposited within the
                        last 1.8 million years (Qyarteroary'period>. The youogest sediments corqnise the Recent.
                        Holocene (post glacial) depositional surface which is composed of deltaic and
                        coastal interdeltaic plains. The Pleistocene egaStal plain nCN1TS between the Recent

o                       formations near the coast and the youngest Tertiary formation inland.




                          Structural       se t ting :                                                                  _

                          Coastal Plain deposition in geosyncline. Salt diapirs, growth faults, and subsidence constitut
                          primary structural features of this part of the Gulf Coast




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    ~C-03'6   (Rav. 10-22-90)
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                      c.    Active          Geological          Processes


o                           Faults      :

                                  No known faults exist in the vicinity of Englewood Yard
                                                                                                                                                                  _




                            Sub s idence        :        Studies     by Harris-Galveston
                                                            ...:...-=-..:.:.~~.:.:..                    Coastal Subsidence_ _.::.. District
                                                                                     __ .:...:..::..:...:.:.....:..:...:..:..:.....:..:_.::.. ~--------indicate
                                  a subsidence rate of about 0.06 ft per yr based on extensometer                                      data collected

                                  from a location 1.3 miles west southwest of the closed surface impoundrrent.




                            Geomorphic           Processes          :           Pleistocene        crevasse-splay   deposits, fluvial deltaic
                                                                                                              .:.-...:..._:....._...:..                               _

                                  geomorphic processes.              Currently no active geomorphic.processes                          are significant

                                  within the closed surface impoundrrent.




                            Are      there     any   wetlands            within        the     property          boundary          of the        facility?

                                                                                       ___         YES                  x
                     D.     Regional          Aquifers

                            De s c r ipt ion:        The interpreted bases of the Chicot and the Evangeline agui fers are

                               about 600 and 2000 feet deep, respectively.                             Relative proportions              of sand and

                               clay beds in the Evangeline and the Chicot aquifers vary throughout the areai generally

                              they average half sands and half clays.                           The Alta Lama Sand (not present at this

                              location) of the Chicot Aquifer is a massive unit.                                The Evangeline Aquifer consists of
                              less maSSiVely beaded sands.
                            Vater-bearing     properties:     The hydraulic conductivity (coeffcient. of perrreability) of
                            sands in the Evangeline Aquifer is generally in the range of 150 to 400 gallons per day per squc
                            foot. The storage coeffcient used in the HGCSD Phase II model for the Evangeline Aquifer
                            was estimated to be approximately 0.004. The local transmissivity of the Evangeline
                            Aquifer is about 24000 square ft/day. The Chicot and Eyaooeli De aq"f fets are "nd..,r
                            artesian conditions in the area of the closed surface impoundrrent.


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                                                                                      55
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                         Vater quality:                                                                                                  --:                                           _


o                               Good; TDS = 200 to 600 mg/l in Chicot and Evangeline production sands.

                                Poor quality in zones shallower than the Alta Lorna Sand




                    E.    Vaste Management          Area Subsurface                        Conditions
                                                                                                             Depth below grade (ft)

                                                             0-20                20-30                  30-40                  40-60                 60-80                  100
                          numb~r of borings:                                         13                                           4

                          maximum depth:           50        feet below"grade

                                                   -4        feet above MSL

                          S t rat ig raphy   :__      Stratum 1: Shallow Sandy Clay;                                       Stratum 2: El +35 ft Sand
                                                    -=.::.::=:...:.;:....-:::.::==:.::....::.::.:::!.....::.::::w.._=.:.::.:::.::.:::::.:...=.=...-=:;::.....:.:;.;:;....:..::..=~--
                             Stratum 3:      Intermediate Sandy Clay;                      Stratum 4: El +15 ft Sand;

                             Stratum 5: Deeper Clay



o         STRATUM                   VALUE          LIQUID                    PLASTICITY
                                                                               INDEX"
                                                                                                               % PASSING
                                                                                                             -200 SIEVE
                                                                                                                                                      K
                                                                                                                                                (em/see)
                                                   LIMIT




                                 minimum                32                          17                                                         7.6 X 10-9
                                 maximum                54                          39                                                         1.7 X.10·8
                                 average                43                          29                              54                         1.2 X 10-8

               2                 minimum                                                                                                       2.6 X 10-3
                                 maximum                                                                                                       5.0 X 10-3
                                 average                                                                                                       3.0 X 10-3

               3                 minimum                29                          12                              79                         5.3 X 10.8
                                 maximum                57                          37                              85                         3.9 X 10-7
                                 average                41                         24                               82                         2.2 X 10-7

               4            i    minimum
                                 maximum
                                 average

               5                 minimum                61                         38
                                 maximum                65                         42


o                                average                64                         40                                                          4.4 X 10-9




                                                                                     56
    TWC-0376   (Rev. 10-22-90)
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                                  Pe'rmeable. wa te r-bearing    stra ta :                                           _


o                                   El +35 ft sand and El +15ft sand appear to be in good hydraulic connection.



                                  Number of water level measurements:                           4                   __

                                  Maximum   static water level:          7.5   feet below grade

                                                                       46.     feet above MSL
                                                                             liQ monitor~ell •. ' .
                                     static water level measured          XXXXX)(Xl;(~~~mng

                                       initial   water level for the above well:           Ino in~wet~low        grade
                                                                                           Ino information
                                                                                          _______feet above MSL

                                       date of the above water level measurement:                    ~~~~
                                                                                                      4/19/91      ___

                                  Minimum   static water level:       2.56     feet below grade

                                                                      43.49    feet above MSL
                                                                                            Ino information
                                       initial   water level for the above well:                 feet below grade
                                                                                            Ino information
                                                                                                 feet above MSL
,0                                     date of the above water level measurements:                      4/1191      _

                                  Flow in direction    of uppermost     water-bearing     stratum:                 __
                                   Generally toward the west-northwest,with possible variation

                                   from due west to north-northwest




                                                        0.0005 to 0.005 El + 35 ft Sand




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                                                                57
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        Site Description
             Topography
             Physiography

       Regional Geology
           General
           Shallow Stratigraphy
           De-eper Stratigraphy

       Active Geologic Processes
           Subsidence     '
           Wetlands
       Regional Aquifers
           Aquifer Names
           Constituent Materials
          Aquifer Description

o         Aquifer Conditions
           Hydraulic Connection
           Regional Water Table Contour Map
           Flow Rate
           Dissolved Solids Content of Groundwater
          Recharge Areas
           Groundwater Withdrawal

       Waste Management Area Subsurface Conditions
           Subsurface Soils Investigation
               Historical Borings
                    PSI
                    Geo Associates
               Stratigraphic Interpretations and Cross Sections
              Engineering Data
          Groundwater Investigation Report                      _
            - Records of Water Level Measurements In Borings and Wells
              Hydraulic Gradients
              Pathways for Pollution Migration
          Ident1ftcation of Uppermost Aquifer
          Groundwater Flow Direction

    TABLES

       1.    Production Wells Within One Mile of the Site
      2.     Active Monitor Wells
      3.     Water Level Elevations in Wells and Piezometers

o     ·4.
      5.
             Summary of Horizontal Hydral;llic Gradients and Velocities
             Summary of Vertical Hydraulic Gradients
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o                              TABLE         of     CONTENTS
                                              (continued)

                                           GEOLOGY REPORT




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         1. Site Location Map
         2. RegionalTopography Map
         3. Physiographic Map
         4. GeologiCMap .
         5. Stratigraphic Column
        6.  Bortng Location Map
        7.  Location of Cross Sections
        8.  Cross Section A-A'
        9.  Cross Section B-B'
       10. "Generalized Subsurface Stratigraphy
       11.  Location of Section F-F'
       12.  General Position of Chicot and EvangelineAquifers. F-F'
       13. Altitude of Base of Chicot Aquifer
       14.  Altitude of Base of Evangeline Aquifer

o      15.  Altitude of Potentiometric Surface - Chicot Aquifer - 1986
       16. Altitude of Potentiometric Surface - EvangelineAquifer - 1986
       "17. Approximate Recharge Areas - Chicot and EvangelineAquifers
       18.  Groundwater Contour Map - April 1. 1991 - El +35 ft Sand
       19.  Groundwater Contour Map- April 2. 1991 - El +35 ft Sand
       20.  Groundwater Contour Map - April 12, 1991 - El +35 fl Sand
       21.  Groundwater Contour Map - April 19. 1991 - El +35 ft Sand
       22. "Groundwater Contour Map - April 19. 1991 - El +15 ft Sand
       23.  Hydrograph of Selected Wells - El +35 ft sand
       24.  Contour Map of Top of Uppermost Aquifer
       25.  Contour Map of Bottom of Uppermost Aquifer



    ATTACHMENTS

       A.      Bortng Logs
       B.      Solls Laboratory Testing
       C.      Gradient Calculations
       D.      Soll Chemical Sampling Data - April 1991




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                                                          Text

                                                 December 22,2003
                                                 WOo #422-102/60
                                               Union Pacific Railroad
                                          Houston Wood Preserving Works
                                                  Houston, Texas


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                                          Environmental Resources Management
                                              1110 Montlirnar Drive, Suite 150

o                                                 Mobile, Alabama 36609
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o                                            GEOLOGY REPORT


                                   Southern Pacific Transportation Company


                                          Englewood Yard - SWR 31547
                                                 4910 Liberty Road
                                                  Houston, Texas




                                                 Site Description




          SQuthern Pacific TransportatiQn CQmpany (SPTCQ) clQsed a surface impoundment in 1984
    (SWR31547) at the EnglewQod Yard, 4910 Liberty RQad, HQustQn, Texas. Englewood Yard is is IQcated
    apprQximately Qne mile nQrth Qf Interstate Highway 10, Qff LQckwQQd Drive, as mQre fully shQwn Qn Ex-
    hibit 1. The area is predQminantly surfaced with asphalt, CQncrete and rQad base material. There are
    several sets Qf railrQad tracks terminating within and passing thrQugh the yard.

        The clQsed surface impoundment at the western end Qf the yard (see Exhibit 1) is the specific SQlid
    waste management unit at this IQcatiQn which will be the fQCUSQf this rePQrt' PriQr tQ clQsure, the unit was
    used tQ cQntain creQSQtecQntaminated SQils.



                                                   TQpography


         The topography in the area Qf the clQsed surface impoundment is flat, with an apprQximate surface
    gradient Qf 0.4% frQm SQuth tQ nQrthwest. The elevatiQn varies frQm apprQximately 47 feet above msl Qn
    the southern end Qf the clQsed site tQ apprQximately 46.2 feet above msl in the nQrthwest. Surface water
    and drainage features in the immediate area include a shallQw ditch which is adjacent tQ the eastern edge
    Qf the clQsed site. a depressiQn sQuthwest Qf the site, and a ditch farther sQuthwest that parallels the
    SPTCo main line.

          The regiQnal tQpography is alsQ flat as shQwn Qn Exhibit 2. TWQ miles tQ the south Qf the site, a
    sharp drQp in elevatiQn Qccurs at BuffalQ Bayou. The regional land surface slQpes gradually toward the
    east.                        .
                                                                                                         -   ----------.


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                                                                                                               Page 2


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         The vegetat"ion on the site consists of grasses indigenous to the area. Wooded areas border the
    northern and western sides of the closed surface impoundment. the area to the east of the site is sur-
    faced with road base material and supports a series of railroad tracks. An area covered with grass
    vegetation extends south from the closed surface impoundment to the railroad tracks.

         Wildlife on the site appears to be limited to rodents, snakes and birds native to the Harris County
    area.




                                                    physiography



         The site is located within the Brazos Deltaic Plan of the .Western Gulf Coast Plain physiographic
    province, as shown on Exhibit 3. The physiography consists primarily of a relatively flat coastal plain lo-
    cated inland from coastal marshes and inclined gulfward at about five feet or less per mile. The site is
    composed of surficial clays (compacted fill) underlain by a relict fluvial-deltaic complex which consists of
    clay, silt, sand and clayey sand deposits.   .

         The main physiographic limitation of the site is one that is common to the Gulf Coast area, I.e. poor
    drainage resulting from the generally flat topography.




                                                 RegIonal Geology


                                                       General

         The surficial soils of this region are deposits of the Pleistocene fluvial-deltaic system (Exhibit 4). The
    generalized stratigraphic column of the upper 1000 feet of the site consists primarily of sand, silt, clay and
    shell which have been deposited within the last 1.8 million years (Quarternary Period). The youngest
    sediments comprise the Recent-Holocene (post glacial) depositional surface which is composed of deltaic
    and coastal interdeltaic plains. The Pleistocene coastal plain occurs between the Recent formations near
    the coast and the youngest Tertiary formation inland. A stratigraphic column of surface and subsurface
    units for Harris County is shown on Exhibit 5.                                          .
                      I


        Pleistocene soils underlying the site consist of fluvial, deltaic and associated marginal marine sedi-
    ments deposited during interglacial stages of rising sea level within the Beaumont, Montgomery, Bentley
    and Willis formations. In general, these formations are all comprised of similar lithologic material and for
    the most part do not have persistent individual characteristics that can' be recognized in the subsurface.
    consequently, they have not been correlated satisfactorily in the. subsurface of the Harris-Galveston


o   County area.
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                                                                                                             Page 3


o
                                                 Shallow Stratigraphy




         The interpretation of shallow stratigraphy for this site was derived from the review of manual and
    electric logs resulting from a series of borings recently completed by Geo Associates.       The borings
    ranged from about twenty- to fifty-foot depth. Of these borings, three were subsequently used for well
    installations and three .for piezometer installations. The boring location plan is included as Exhibit 6.
    Copies of manual and electric logs are included in Attachment A.

         Within the closed surface impoundment, the upper three to seven feet consist o'f a firm to stiff clay fill.
    The fill is underlain by a firm to stiff sandy clay (with some fill material) to a depth of twelve to fourteen
    feet. Below the sandy clay is a water bearing sand, varying in thickness from six to eight feet, and termi-
    nating at about nineteen-foot depth. A firm to stiff sandy clay is found from the base of the sand to an
    apprOXimate depth of thirty feet. From thirty feet to thirty-nine feet there is a very dense sand which is un-
    derlain by a very stiff red clay to the fifty-foot termination depths of the borings.

         Two stratigraphic cross sections have been prepared for the site. A cross section location map is in-



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    cluded As Exhibit 7, while the cross-sections are Exhibits 8 and 9.




                                                 peeper Stratigraphy




         The Beaumont Formation is considered the uppermost portion of the Chicot Aquifer. No local wells
    screen the Chicot, whose base is at about five hundred feet in this area. Local groundwater production in
    the Vicinity of the site is minimal, but wells are screened to about tV'!'elve hundred foot depth in the Evan-
    geline Aquifer of Pliocene age.

        The generalized deeper stratigraphy     near the closed surface impoundment       site is shown on Exhibit
    10 as adapted from the HGCSD Water Resource Management Program - Phase II. The data shown is
    based on the interpretation of electric logs of water wells in the Downtown Houston Subsector.       The strati-
    graphic records 01 these local logs extend to depths of 2150 feet.

          Exhibit 10 indicates depths, thickness, hydraulic conductivity and compressibility of clay layers. The
    intervals between the clay layers represent sand or silt deposits.        The local transmissivities of the
    pumped aquifer is up to about 18000 ft2/day in the Evangeline Aquifer.



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o
                                            Active Geologic Processes



          The active geologic processes of faulting. subsidence and erosion were examined with respect to the
     closed surface impoundment area. After review of available material, no known faults were observed to
     intersect the area of the closed surface impoundment.        As observed. the site is well sodded with
     indigenous vegetation, showing no serious evidence of erosion across the surface or adjacent to the site.
     The principal active geologic process in this vicinity which could affect the site would be subsidence.
     Subsidence in this portion of Harris County, while once substantial, has been minimized in recent years
     by the action of the Harris-G~lveston Coastal Subsidence District (HGCSD) in limiting gro~ndwater pump-
     age.




                                                    Subsidence


          In its Water Management Studies, the HGCSD used the measured rate of subsidence at Benchmark
     R54 as typical of subsidence throughout the subsector during the period 1965 through 1978. According


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     to the HGCSD Phase \I Water Management Study, the rate of SUbsidence at Benchmark R54 was about
     0.18 feet per year. This benchmark is located approximately 1.3 miles west southwest of the closed sur-"
     face impoundment   site and would approximate the probable rate of subsidence in the site area.

         The HGCSD Phase II study predicted future subsidence in the downtown subsector during the 1980-
     2020 period based upon two different scenarios. In the first scenario, the future supply and demand for
     water usage was estimated; any deficit between available surface water and total water requirements was
     designed to be met by groundwater pumpage. This scenario predicts about five feet of subsidence during
     the forty year period. The second scenario assumes that future groundwater. pumpage will remain the
     same as that in 1980. This scenario predicts about 2.5 feet of subsidence over the same forty year peri-
     od.

            An Extensometer located in northeast Houston within about three miles of the site that continuously
    . records the compaction of the upper 2250 feet of the subsurface indicated a subsidence rate of about .06
      feet per year during the period 1983 through 1988. This change in rate from the predicted could be at-
      tributed to the limitation on the use of groundwater by the HGCSD with the resulting increase in use of
      surface water by municipalities, industries and agriculture.




                                                     Wetlands



          The closed surface impoundment is relatively flat and slightly elevated over the surrounding   areas;
     there are no wetlands identified on the Englewood Yard.


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                                                 Regional Aquifers




                                                   AQuifer Names




        According to the latest nomenclature by the U.S. Geological Survey, the formations which supply
    water wells in the Harris County area are from the oldest to youngest: the Fleming Formation of Miocene
    Age; the Goliad Sand of Pliocene Age; the Willis Sand, Bentley Formation, Montgomery Formation, and
    Beaumont Clay of Pleistocene Age; and Alluvium of Pleistocene and Recent Ages. Three of these .four
    subdivisions are identified as aqUifers and one is identified as a confining layer. From oldest to youngest,
    and deepest to shallowest, the subdivisions are the Jasper Aquifer, the Burkeville Confining Layer, the
    Evangeline Aquifer, and the Chicot Aquifer.

        The Jasper Aquifer and the Burkeville Confining Layer are considered to be parts of the Fleming For-


o   mation. The Evangeline AqUifer includes the upper part of the Fleming Formation and the Goliad Sand.
    The Chicot aquifer includes the remaining formations up to the land surface. These aquifers are indicated
    on Exhibit 5.                                                                .




                                                Constituent Materials




         Exhibits 11 and 12 show an interpreted geologic section in the area of the site, taken from the
    HGCSD Phase I Water Resource Management Program. The interpreted bases of the Chicot and the
    Evangeline aquifers are shown on Exhibits 13 and 14. Relative proportions of sand and clay beds in the
    Evangeline and the Chicot Aquifers vary throughout the area; generally, they average half sands and half
    clays. The. Alta Lorna Sand (not present at this location) of the Chicot Aquifer is a massive unit. The
    Evangeline AqUifer consists of less massively bedded sands.




                                                 AQuifer pescription




         The hydraulic conductivity (coefficient of permeability) of sands in the Evangeline Aquifer is generally



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    in the range of one hundred fifty to four hundred gallons per day per square foot. The storage coefficient
    used in the HGCSD Phase II model for the Evangeline Aquifer was estimated to be approximately 0.004.
    The local transmissivity of the Evangeline Aquifer is about 24000 tt2/day.
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o                                               Aguifer Conditions
                                                                                                        Page 6




         The Chicot and the Evangeline Aquifers are under artesian conditions in the area of the closed sur-
    face impoundment.




                                               Hydraulic Connection



          Sand beds in the Chicot Aquifer are hydraulically connected to some extent with the sand beds in the
    underlying Evangeline Aquifer and water moves slowly through circuitous routes from one aquifer to an-
    other in response to head differences between the aquifers. The two aquifers have been separately iden-
    tified by the USGS on the basis of production screenings, and the degree of hydraulic con.nection be-
    tween" the aqUifers is not high.




o                                       Regional Water Table Contour Map



         The USGS has maintained records of the potentiometric surface elevations in wells in this area over
    a period of years. The potentiOmetric surface elevations shown on Exhibits 15 and 16 for Spring 1986 are
    those interpreted for the Chicot and Evangeline Aquifers in this part of the region.

         The potentiometric surface elevations in aquifers beneath the closed surface impoundment have
    risen somewhat since 1977. Chicot potentiometric surfaces have risen approximately ten (10) to twenty
    (20) feet during the period 1977 - 1990, and Evangeline potentiometric surfaces have risen approximately
    forty (40) to fifty (50) feet in the same period, according to USGS Open File Report 90-132.




                                                    FIQWBate


         The flow rate in aqu.ifers is often dominated by the extent of well pumpage. The Chicot and Evange-
    line aquifers are extensively screened and since mQst groundwater f1QWis toward prQduction in wells, the
    calculation of flow rates in feet per year is nQt a meaningful exercise. A more useful measurement would
    be the total groundwater production for the area. Total pumpage in Harris-Galveston Coastal Subsidence
    District for 1976 was 457 million gallons per day, dropping to 354 million gallons per day in 1987. The
    closed surface impoundment is located on the western edge of HGCSD sector six, which showed pump-


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    age rates from 120 million gallons per day in 1970 to a high of 170 million gallons per day in 1982, with a
    recent drop to 140 million gallQns per day in 1987. HGCSD records reflect no pumpage during 1990 in an
    area within one mile radius of the site.                                                   .              .
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                                        Dissolved Solids Content of Groundwater




           Generally, the water from these aquifers is of good chemical quality.   Water is considered to be fresh
       if its total solids content is 1,000 mgJl or less. The general range for total dissolved solids in the water
       from the producing zones of the Chicot and Evangeline is 200 to 600 mgJI.




                                                    Recharge Areas




          The Chicot Aquifer recharge area is in northwestern Harris County. southern Montgomery county,
      and adjacent areas. The Evangeline recharges farther northwest in Grimes, Walker, and northern Mont-
      gomery counties (see Exhibit 17). The Beaumont Clay near land surface in much of southern Harris
      County restricts the amount of recharge to the Chicot Aquifer from the land directly above it.




'·0                                            Groundwater Withdrawal




           All of the currently known pumpage in the vicinity of Englewood Yard is from the Evangeline Aquifer.
      In the southeast Harris County area, the Chicot Aquifer provides most of the water. Most of the water
      withdrawn from these aquifers is for public supply and industrial use.

          The listing of water wells within a one mile radius of the center of the closed surface impoundment
      (latitude 29°47'08" and longitUde 95°19'26") as reported by HGCSD is included in Table 1. These two
      wells, designated as 1967 and 1968 and are owned by Southern Pacific Transportation Company. TJiey
      are located approximately three-fourths of a mile east of the closed surface impoundment.     The wells
      have identical latitudinal and longitUdinal coordinates and are screened in the Evangeline AqUifer. The
      records of HGCSD show no pumpage from these wells during 1990.




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                                 Waste Management Area SUbsurface Conditions




                                            Subsurface Soils Investigation




     Historical Borings


          Two subsurface investigations are known to have been conducted at this site. The investigations
     and information reviewed for this report were performed by Professional Service Industries, Inc. (PSI) in
     April 1984 and Geo Associates in MarchlApril1991.


          PSI

·0        During April 1984, PSI drilled five borings around the perimeter of the closed surface impoundment.
     The first was used to classify subsurface strata beneath the site. The other four were subsequently used
     to install groundwater monitoring wells. Copies of boring logs are included in Attachment A.

           The first PSI boring (SP1) was drilled near the northwest comer of the site. According to PSI
     documentation, the boring encountered a sandy clay to fourteen-foot depth. A sand was noted to exist
     between fourteen and seventeen and one-half foot depth. A clay, with sand seams between thirty and
     thirty-seven feet and between forty and fifty feet was found from seventeen and one-half to the
     termination depth of fifty feet.

           Some variations from the stratigraphy noted in SP1 were found in borings used for PSI well installa-
     tions. They included a red clay from the surface to five and one-half foot depth in SP4 (Well 1) and a silty
     clay from twelve to fourteen-foot depth in SP2 (Well 2). The top Of,sand was generally found to occur at
     thirteen to fifteen and one-half foot depth.



         Geo Associates
                       I


          During March 1991, Geo Associates drilled and logged a series of borings which were designed to
     accomplish the following: a) to provide additional stratigraphic information; b) to investigate the potential
     for residual chemical contamination to exist in the closed surface impoundment area by means of soil
     chemical analyses; and c) to provide additional groundwater information through the installation of
     additional monitoring wells and piezometers in conjunction with the Groundwater Quality Assessment


o    Pla'n.
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o         Four borings (P1 0, P11, P12 and B13) were drilled external to the closed surface impoundment and
     terminated at fifty-foot depth; Borings P10, P11, and P12 were converted to piezometer installations. Five
     borings (B-A1. B-B3, B-C1. B-D3, B-F2 and B-G4) were drilled within the closed surface impoundment
     and were terminated at twenty-two foot depth. Borings 7, 8, and 9 were utilized for the installation of
     Monitor Wells 7, 8, and 9.

          Drilling techniques used in the investigation were wet rotary with continuous sampling to twenty feet
     and at five foot intervals thereafter. Wells were single cased. For piezometers which were installed
     through possibly contaminated sands/silts and screened in a lower zone, multiple casing techniques were
     used to minimize the possibility of cross contamination. Supervision of drilling was provided by an engi-
     neer or geologist.

          A list of monitor wells are included on Table 2. Manual logs and electric logs of selected borings are
     inclUded in Attachment A. Soils geotechnical laboratory data is included in Attachment B.




     Stratigraphic Interpretations and Cross SectiQns


          Air photo interpretation, review of available geologic data and review of the recent boring logs have


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     been used to interpret the site's shallow stratigraphy. This interpretatiQn and the hydrographs of selected.
     wells has allQwed the definition of two permeable zones within the upper fifty feet of the site. Deeper
     zones have not been investigated. Based on these data, the following shallow permeable zones are indi-
     cated:
                  EI +35 ft Sand      This zone was encountered at a depth of about twelve to fQur-
                                      teen feet or top about elevation 35. The sand varies in thick-
                                      ness from about six to eight feet. Monitor wells 1, 2, 3, 4, 5,
                                      7,8, and 9 screen this zone.

                  EI +15 ft Sand         This sand zone was enCQuntered at a depth of about thirty tQ
                                        thirty-three feet or top about elevation 15. The sand is ap-
                                        prQximately six to nine feet thick Piezometers 10, 11 and 12
                                        screen this sand zone. From a review Qf the water levels in
                                        this and the EI +35 ft sand it appears that the two zones are
                                        hydraulically connected.



            The interpretation of shallow stratigraphy for this site was derived from the review of manual and
      electric logs resulting from a series of borings recently completed by Geo Associates. The bQrings
      ranged from abouf twenty- to fifty-foot depth. Within the closed surface impoundment, the upper three to
      seven feet consist of a firm to stiff clay fill. The fill is underlain by a firm to stiff sandy clay (with some fill
      material) to a depth of twelve to fourteen feet. Below the sandy clay is a water bearing sand, varying in
      thickness from six to eight feet, and terminating at about nineteen to twenty-foQt depth. A firm to stiff
      sandy clay is found from the base Qf the sand to an approximate depth of thirty to thirty-two feet. From
      thirty-two feet to thirty-nine feet there is a very dense sand which is underlain by a very stiff red clay to the

o   . termination depths of the borings.
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          Two stratigraphic cross sections have been prepared for the site and are included as Exhibits 8 and
    9.



    Engineering Data


          A laboratorY testing program was undertaken during the soils investigation by Geo Associates to as-
    sist in classification of the soils and to determine the grain size and permeability of some of the retrieved
    samples. Hand penetrometer tests were performed in the field on the retrieved samples to assist in clas-
    sification of the consistency of the clay soils. Sieve analyses were accomplished on retrieved samples of
    the water-bearing silts and sands. Permeability tests on selected samples of the clays were run to deter-
    niine their laboratory permeability. Atterberg limits, moisture contents,and visual classifications were also
    conducted in the laboratory to better define the various soils on the site. laboratory testing was accom-
    plished in accordance with ASTM methods.

         The resuUs of laboratory tests for the study are included as Attachment B to this report and/or are in-
    dicated on the borings logs included in Attachment A.


o         Field permeability tests for selected monitoring well locations were conducted by Geo Associates to
    determine the hydraulic conductivity for the uppermost zone. The results of these tests are discussed in a
    following section of this report. Hydraulic gradients within the EI +35 ft sand are calculated to be in the
    range of 0.0005 to 0.005 with an average value of 2.3 X 10-3.




                                          Groundwater Inyestigation Report



    Records of Water Leyel Measurements In Borings and Wells


         Water level observations In the wells and piezometers were taken periodically after drilling and con-
    verted to msl. Since initial encountering of groundwater is shallow on this site, and since drilling at this lo-
    cation is most appropriately accomplished by wet rotary methods, no initial encountering of the
    groundwater was reported for well or piezometer installations.

         Water level measurements for groundwater monitor wells 1, 2, 3, 4, 5, 7, 8, 9 and Piezometers 10,
    11, and 12 were recorded at four intervals. These readings were converted to elevation msl and the
    tabulated results included on Table 3. Contour maps for the EI +35 ft sand for the four measurement in-


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    tervals have been prepar~d and are included as Exhibits 18, 19,20, and 21.
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          Two permeable zones of the     uppermost aquifer are currently included in the study. Monitor wells 1,
    2, 3, 4, 5, 7, 8, and 9 screen the    EI +35 ft sand zone; Piezometers 11, 12, and 13 screen the EI +15 ft
    sand zone. A review of the water     level data has been accomplished to establish the possibility of hydrau-
    lic connections/separations   and    the conductivities.  This information is more fully discussed in the
    following sections.




    Hydraulic Gradients

         Well pumping and slug tests were conducted on EI +35 ft sand wells 7, 8 and 9 to evaluate hydraulic
    conductivity (coefficients of permeability). These in-situ· tests resulted in calculated values of hydraulic
    conductivity ranging from 2.6 X 10- to 5.0 X 10-3 em/sec. A value of 3.0 X 10-3 was used in the velocity
                                        3
    calculations.

         Hydraulic gradients within the EI +35 ft sand are calculated to be in the range of 0.0005 to 0.005 with
    an average value of 2.3 X 10-3. Flow is generally toward the west-northwest, with possible variation from
    due west to north-northwest. Calculated groundwater velocities range in value from 5 to about 52 feet per
    year with an average of about 24 feet per year using Darcy Equation with an assumed porosity of 30%.
    The hydraulic gradients and velocities are summarized in Tabl.e 4.



o        The EI +15 ft sand was screened by three piezometers to allow a rough estimation of the flow
    direction and gradient in this zone by triangulation. The observations showed the flow direction and gradi-
    ent to be comparable to that of the EI +35 ft sand, indicating potential hydraulic connection between the
    two zones.

         Monitor wells 7 and 9 are located approximately ten feet from Piezometers 10 and 12. Well 7 and 9
    are screened in the EI +35 ft sand zone while Piezometers 10 and 12 are screened in the EI +15 ft sand
    zone. A review of the water level elevations (see Table 3) reflects that elevations in monitor wells 7 and 9
    are very close to water level elevations. recorded in adjacent piezometers 10 and 12. This similarity sug-
    gests that the two zones are probably in good hydraulic communication (see Exhibit 22).

         Average vertical gradients for the month of April 199fwere calculated for the area near Well 7 and
    Piezometer 10 and the area near Well 9 and Piezometer 12. Since Well 7 and "Piezometer 10 are sepa-
    rated with by approximately thirteen feet of clay, the average vertical gradient Is calculated to be
    approximately 0.0058. In the area of Well 9 and Piezometer 12, the separation is approximately sixteen
    feet of clay, wnh an average calculated gradient of 0.0011.

        The vertical gradients are summarized      in Table 5 and the gradient calculations   included In Attach-
    ment C.

         The variation in gradients during the month of April 1991 may be related to two events: a) the very
    heavy rainfall during March and April 1991; and/or b) a leak in a water line located near the site. The
    Houston area experienced excessive rain during March and April 1991, keeping soils saturated and
    contributing to overall hydrostatic pressures in the shallow permeable zones. The water line was leaking
    below ground surface in the area between Well 9 and Well 8. The line was repaired on March 28, 1991,


o   but 'he local pore pressures in the soils may have affected the local groundwater gradients for a period of
    time after repair.
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     pathways for pollution Migration

           The most likely pathway for pollution migration I.ntothe groundwater at this site would be through the
     vertical movement through silty clays beneath the formerly active surface .impoundment into the EI +35 ft
     sand. Since there appears to be good hydraulic connection between the EI +35 It sand and the EI +15 ft
     sand as discussed above, there is a likelihood that pollutants could migrate to the lower zone.

          It is not likely that migration of pollutants would occur after closure of the surface impoundment. Post
     closure sampling reported by Rollins Environmental Services indicated that all chemical.s detected at the
     base of the impoundment prior to backfilling were below background levels. Recent soil sampling by Geo
     Associates in April 1991 reconfirmed these findings (see Attachment D).




                                         Identification of Uppermost Aquifer



          The local geology of this site is such that some degree of local connection probably e~ists between
     permeable units through the upper several thousand feet of the subsurface. Nevertheless, it is conven-
'0   tional and proper to subdivide the zones into aqUifers, each aquifer may be comprised of several zones
     with relatively good hydraUlic conductiVity. The hydraulic connection between various' aquifers would be
     considerably less than between permeable zones within each aqUifer.

         On the basis of the investigations carried out at the site, the EI +35 ft sand and the EI +15 ft sand
     zones. within the upper fifty feet of the surface, have been identified as the uppermost aquifer:

                 a.   EI +35 ft sand - a sand and clayey sand zone with a thickness of about six to
                      eight feet located between about elevation 35 and elevation 27. The sand is
                      gray and loose on the western half; medium dense on the eastern portion.
                      The clayey sand portion of the zone is found in the upper two feet of the
                      eastern portion of the site.

                 b.   EI +15 ft sand - a very dense sand with a thickness of approximately six to
                      nine feet located between about elevation 17 and elevation 8 ..


          A review of water level data for Monitor wells 7 and 9 (EI +35 ft sand zone) and Piezometers 10 and
     12 (EI +15 ft sand zone) reflects that the calculated water level elevations. gradients, and flow directions
     in both zones appear to be similar. This similarity indiqates that the two zones are unique but are probably
     in good hydraulic communication.

         Surface contour maps for the uppermost aqUifer are included as Exhil:lits 23 and 24.



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                                       Groundwater Flow Direction and Bate


           DUring the month of April 1991, water levels were measured on four separate occasions in monitor
      wells and piezometers; measurements were referenced to the top of well casing and converted to eleva-
    . tion msl (see Table 3). Groundwater contour maps were prepared and groundwater flow direction deter-
      mined.                                            .

         Hydraulic gradients within the EI +35 ft sand are calculated to be in the range of 0.0005 to 0.005 with
    an average value of 2.3 X 10-3. Flow is generally toward the west-northwest, with possible variation from
    due west to north-northwest. Calculated groundwater velocities range in value from 5 to about 52 feet per
    year with ary average of about 24 feet per year using Darcy Equation with an assumed porosity of 30%.
    The hydraulic gradients and velocities are summarized in Table 4.




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